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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA, et al.,
                                         Case No. 1:24-cv-03973-AS-SLC
                 Plaintiffs,
                                         [Rel. 1:24-cv-04106-AS-SLC; 1:24-cv-03994-
     v.
                                         AS-SLC]
LIVE NATION ENTERTAINMENT, INC.,
and TICKETMASTER L.L.C.,                 ORAL ARGUMENT REQUESTED

                 Defendants.



              REPLY MEMORANDUM OF LAW IN SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS
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                                 PRELIMINARY STATEMENT

        Tying doctrine proscribes a form of conditional dealing. To be liable for unlawful tying, a

seller must say to a buyer, in substance, “if you want X you have to take Y”—or in the alternative,

“if you want X you have to promise you won’t buy Y from my competitor.” While there are other

elements of the claim—market power, effects in the tied product market, and so on—the

foundational sine qua non of tying under the Sherman Act is that there has to be a tying agreement.

        Despite pages of obfuscation, what emerges from Plaintiffs’ brief is that they do not allege

that Live Nation has ever made a tying agreement with artists. There is not a single instance—

much less a broader commercial practice—of Live Nation giving an artist an ultimatum of the

type, “if you want to rent an amphitheater I own, you have to take my concert promotion services.”

That would be trivially easy to plead if Plaintiffs had any evidence that an artist attempted to rent

a Live Nation venue but wanted to engage another promoter for their show. But Plaintiffs have no

such evidence because artists do not rent venues. Promoters do. The Amended Complaint itself

says so: “Typically, venues enter into individualized agreements with promoters (either on a

show-by-show or long-term basis), which dictate the payments between venues and promoters in

exchange for the performance(s).” Am. Compl. ¶ 192 (emphasis added).

        This defect is fatal to Plaintiffs’ tying claim. Plaintiffs resort to three tactics to try to

resurrect it. First, as if tying liability could be established by linguistic sleight-of-hand alone, they

repeatedly rephrase Live Nation’s policy of not renting its amphitheaters to rival promoters as a

form of tying agreement with artists. That is not what the well-pleaded facts in the Amended

Complaint say and it is not how the industry works, as the Government well knows.

        Second, Plaintiffs argue that even if promoters (not artists) are the ones who rent venues,

they do so as a mere “agent” of the artist, which is good enough. That is also, however, not what

the Amended Complaint alleges. To the contrary, it makes clear that promoters have ongoing,

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independent economic relationships with venues, often on a “long-term” basis, id., paying rent the

promoters themselves negotiate as part of a broader risk-bearing role in which they cover all show

expenses and guarantee the artist’s compensation, in exchange for a piece of the upside if the gig

makes money. If there were an “agency” exception to tying doctrine’s conditional dealing

requirement, the allegations in the Amended Complaint wouldn’t satisfy it.

       Third, Plaintiffs appear to contend that it doesn’t actually matter if Live Nation makes

conditional dealing demands of artists (or their agents), because the effect of Live Nation’s refusal

to deal with rival promoters is to require that an artist who wants to play Live Nation amphitheaters

also take Live Nation concert promotion services. That is simply not the law. There can be no

tying liability under the Sherman Act without an actual tie. The Viamedia and Kodak cases

Plaintiffs rely on neither hold nor even suggest otherwise. In both cases, the defendants in fact

made conditional dealing demands of the putative tying victims. Neither case conjured a tying

agreement from the effect of a parallel refusal to deal, without more. No case allows that.

       The State Plaintiffs’ federal claims for damages likewise fail because Plaintiffs lack

standing to assert them. Plaintiffs’ argument regarding Apple v. Pepper is a strawman because the

“direct purchaser” doctrine from Illinois Brick is not implicated by this motion. The motion is

based on Plaintiffs’ failure to allege the requisite causal linkage between the asserted violations

and the prices consumers paid for tickets in the purported fan-facing primary ticketing market.

There is no logical connection between the alleged conduct and the asserted consumer injury.

                                          ARGUMENT

I.     PLAINTIFFS’ TYING CLAIM FAILS AS A MATTER OF LAW

       A.      Tying Liability Requires A Tying Arrangement

       Plaintiffs argue that Defendants “do not dispute that Plaintiffs have sufficiently alleged all

five elements of a tying claim” and instead are asking the Court to dismiss Count Three based on

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“additional elements” that Defendants have supposedly “conjure[d]” out of nowhere. ECF

No. 308, Pls.’ Opp’n Br. (“Opp.”) at 8. Not so. Tying requires that there be an agreement with a

buyer forcing it to buy Product B as a condition of buying Product A. The quotation from Kodak

at page six of the Opposition explicitly says so. Yet, after stating the correct rule, Plaintiffs argue

that the “five elements” for unlawful tying can be satisfied in the absence of a tying arrangement.

That is wrong. Plaintiffs’ cited case, Gonzalez v. St. Margaret’s House Housing Development

Fund Corp., states: “A tying arrangement is ‘an agreement by a party to sell one product but only

on the condition that the buyer also purchases a different (or tied) product.’” 880 F.2d 1514, 1516

(2d Cir. 1989) (citation omitted) (cited Opp. at 6–7). The five elements the court goes on to

describe determine when such an agreement may be unlawful. Gonzalez, 880 F.2d at 1516–17.

But if there is no tying agreement in the first place, they simply never come into play analytically.

       Plaintiffs’ own cases make clear that a conditional dealing demand is required for a tying

claim. For example, in In re Google Digital Advertising Antitrust Litigation, the plaintiffs alleged

that Google “require[ed] publishers to sign a combined contract” to buy both the tying and tied

product. 627 F. Supp. 3d 346, 369 (S.D.N.Y. 2022) (cited Opp. at 14). In Viamedia, Inc. v.

Comcast Corp., Comcast allegedly expressly told the customer that it could only buy the tying

product (interconnect access) on the condition that the customer also buy the tied product (ad rep

services) from Comcast. 951 F.3d 429, 446 (7th Cir. 2020) (cited Opp. at 9). And in Eastman

Kodak Co. v. Image Technical Services, Inc., Kodak sold replacement parts to copier customers

on the condition that they used them only to service their own equipment and not buy service from

Kodak’s competitors. 504 U.S. 451, 458, 463–64 (1992) (cited Opp. at 10).

       Plaintiffs allege nothing like that here—no venue contracts with artists (unlike Google), no

communications with artists conditioning their access to venues on using Live Nation promotional



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services (unlike Viamedia), no restrictive agreements with the putative victim of the tie (unlike

Kodak). Nothing. There is thus no “tie” to speak of, much less one that might be unlawful.

       B.      The Tying Claim Does Not Survive On An “Agency” Theory

       Plaintiffs seek to salvage their claim on the theory that concert promoters should be viewed

as the artist’s “agent/delegate.” Opp. at 13. The Opposition brief goes so far as to assert that

promoters function as a “real estate broker or other sales representative.” Id. at 3. But that is not

what the Amended Complaint actually alleges—nor could it, in good faith.

       The Amended Complaint (accurately) describes concert promotion as a business

fundamentally premised on risk-shifting. Promoters “shoulder[] the financial risk and potential

upside if the show or tour underperforms/overperforms.” Am. Compl. ¶ 22. They guarantee the

artists a certain amount of money per show or tour, and effectively place a bet that revenues will

exceed expenses, which is the only way promoters make a profit. Id. ¶ 23. And to these ends,

promoters negotiate their own deals with venues: “Typically, venues enter into individualized

agreements with promoters (either on a show-by-show or long-term basis), which dictate the

payments between venues and promoters in exchange for the performance(s).” Am. Compl. ¶ 192.

       That does not describe a simple agency relationship between artists and promoters with

respect to the procurement of venue access. And the Amended Complaint is conspicuously silent

with respect to features of the marketplace that would actually support the suggestion that

promoters’ contracts with venues are functionally equivalent to those a “real estate broker or other

sales representative” cuts for a principal. There are no allegations (a) that promoters only

approach particular venues at the artist’s direction, (b) that promoters don’t have preexisting deals

with venues that they use to serve a broad roster of artists, (c) that promoters even tell artists what

deals they have with venues as opposed to keeping those commercial terms a closely guarded

secret, (d) that promoters pass through the terms they have negotiated at cost, or (e), more broadly,

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anything indicating that promoters have no separate economic interest in the venue deals they

negotiate, as a simple agent intermediary might (e.g., nothing more than a commission).

       Assuming there could be circumstances where a principal and an agent were rightly treated

as one for purposes of the conditional dealing requirement of a tying claim, this case would not be

among them, on the facts pleaded in the Amended Complaint.

       C.      Live Nation’s Lawful Refusal To Deal Cannot Be Used To Infer An Unlawful
               Tying Arrangement

       There is no legal basis for treating the alleged effects of Live Nation’s refusal to deal with

rival promoters as conduct constituting a tying arrangement with artists, much less a tying

agreement prohibited by antitrust law. The logic of Plaintiffs’ argument would undermine the

distinction between a unilateral refusal to deal and an unlawful tying agreement. Numerous courts

have considered and rejected this stratagem. Plaintiffs’ answer is the Seventh Circuit’s decision

in Viamedia, (Opp. at 9), but that case does not support their theory.

       Plaintiffs make much of Viamedia’s observation that “a tying claim does not fail as a matter

of law simply because it was implemented by refusing to deal with an intermediary.” Opp. at 9

(quoting Viamedia, 951 F.3d at 472). That may be true but is of no moment here. The Seventh

Circuit did not use that principle to create from whole cloth a tying arrangement that didn’t

otherwise exist. It found there was a triable issue that Comcast had made “demands (or threats)”

to Viamedia’s ad-buying customers “that they either use it for their advertising services [the tied

product] or face exclusion from the Interconnects [the tying product] if they stayed with

Viamedia.” Id. at 446.1 In that context—i.e., after identifying conduct potentially constituting



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  The Solicitor General, in a brief on Comcast’s petition for certiorari, took the position that “the
record supports a reasonable inference that [Comcast] required [Viamedia’s] clients to purchase
ad-rep services as a condition of regaining Interconnect access.” Critically, the basis for that view


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tying—the court recognized an unlawful refusal to deal as potential evidence of coercion. Here,

by contrast, there are no allegations of conditional dealing “demands” or “threats” by Live Nation

directed to artists. Viamedia is inapposite.

        That said, Plaintiffs’ invocation of Viamedia is an important reminder that “there can be

no illegal tie unless unlawful coercion by the seller influences the buyer’s choice.” Am. Mfrs. Mut.

Ins. Co. v. Am. Broad. Paramount Theaters, Inc., 446 F.2d 1131, 1137 (2d Cir. 1971) (emphasis

added); see also It’s My Party, Inc. v. Live Nation, Inc., 88 F. Supp. 3d 475, 493 (D. Md. 2015),

aff’d, 811 F.3d 676 (4th Cir. 2016) (to prove tie, “plaintiffs must introduce evidence demonstrating

unlawful pressure”). Viamedia held that an unlawful refusal to deal could contribute to a finding

of coercion. However, as It’s My Party squarely holds, a lawful refusal to deal cannot. 88 F. Supp.

3d 475. There, the district court dismissed plaintiffs’ tying claims in part for lack of evidence of

wrongful coercion, despite allegations that Live Nation “will not allow an artist it does not promote

to perform at one of its venues.” Id. at 497, 501. The court recognized these as “refusal to deal”

allegations, found that the conduct was not unlawful because it did not meet the narrow exception

of Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985), and therefore would

not credit it as the basis for a tying claim. It’s My Party, 88 F. Supp. 3d at 501–03. So too here.

        The distinction between the behaviors known as refusals-to-deal and tying is fundamental.

Each is subject to distinct liability standards and remedies. “A challenged arrangement is not a

tie-in unless the alleged foreclosure can be eliminated by instructing the defendant to disaggregate

what it sells to its customers[,] . . . rather than by an order to sell something . . . to would-be rivals.”

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and



was evidence that Comcast rolled out its strategy by telling each customer “that it ‘would have to
hire [Comcast] for ad rep services if it wanted to regain [Interconnect] access.’” Br. for United
States as Amicus Curiae, Comcast Corp., et al. v. Viamedia, Inc., at 20–21, attached as Ex. 3.

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Their Application ¶ 1700j1 (5th ed. 2023); Authenticom, Inc. v. CDK Glob., LLC, 874 F.3d 1019,

1026 (7th Cir. 2017) (the “proper remedy” for tying is to “enjoin the tie, not to create a duty to

deal”). Here, there is no tying arrangement this Court could enjoin. The only remedy this Court

could order would be a mandatory injunction establishing the terms and conditions on which Live

Nation must deal with rival promoters—precisely the kind of remedy that indicates a refusal to

deal and which the Supreme Court has warned courts “are ill suited” to implement properly.

Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 407–08 (2004).

       D.      While It’s My Party Is Indeed Highly Relevant Precedent That Forecloses
               Plaintiffs’ Claim, Judicial Estoppel Plays No Role Here

       Plaintiffs assert that the Court should deny this motion on judicial estoppel grounds based

on arguments Live Nation made in its It’s My Party briefing nine years ago. That assertion is in

significant tension with Plaintiffs’ simultaneous suggestion that It’s My Party—a principal case in

support of this motion—is distinguishable on the facts or the law. But regardless, Live Nation has

not changed positions such that it is judicially estopped.

       Neither side in the It’s My Party litigation argued what Plaintiffs argue now, i.e., that

promoters function as mere agents of artists. As one might expect where both the plaintiff and

defendant were vertically-integrated concert promoters and venue operators, there was no

meaningful disagreement that “[p]romoters book artists at venues, and accordingly arrange

concerts with venue owners.” It’s My Party, 88 F. Supp. at 481. In its appellate brief, Live Nation

repeatedly said the same thing—that the promoter transacts with venues and bears the financial

risk of that transaction. See ECF No. 309-2 at 3 (“Promoters . . . advis[e] on the selection of

venues and secur[e] them”), 5 (artists “contact directly the promoters (and through them the

venues) with whom they want to work”), 6 (discussing the “promoter’s overall financial risk”).

Statements that the “artist is the decision-maker” about “what type of venues feel appropriate” and


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other artistic issues, Opp. at 11, are not inconsistent with the reality (as alleged in the Amended

Complaint) that the promoter is the one to transact with venues and assume the financial risk for

the shows. Plaintiffs’ judicial estoppel argument fails.

II.     STATE PLAINTIFFS LACK STANDING FOR FEDERAL DAMAGES CLAIMS

        State Plaintiffs do not dispute that they lack standing to seek damages in connection with

nearly every federal claim in this case. The only claim for which State Plaintiffs assert they have

standing to seek damages is their first claim—specifically, the claim that Defendants monopolized

an alleged “fan-facing, primary-ticketing market.” See Opp. at 1, 16; Am. Compl. ¶ 225. But the

case for antitrust standing on that claim fails as well.

        Relying on Apple v. Pepper, 587 U.S. 273 (2019), State Plaintiffs’ lead argument is that

they have standing simply because consumers “transact directly with Defendants” in the purported

fan-facing market. See Opp. at 17. That is wrong. In Pepper, the Court “merely h[e]ld” that the

“Illinois Brick direct-purchaser rule”—which denies antitrust standing to indirect purchasers—did

not bar “direct purchasers from Apple” “from suing Apple under the antitrust laws.” 587 U.S. at

276, 281. Defendants’ motion did not cite Pepper because Defendants do not contend that the

Illinois Brick doctrine bars State Plaintiffs’ damages claims. The decision is irrelevant here.

        The point is instead that State Plaintiffs lack antitrust standing for other, independent

reasons—reasons that apply irrespective of whether consumers are direct or indirect

purchasers. Specifically, the State Plaintiffs must plausibly allege that their consumers’ purported

injury is “causally linked” to the asserted violation, and also that it is “of the type the antitrust laws

were intended to prevent and that flows from that which makes [or might make] defendants’ acts

unlawful.” Gatt Commc’ns, Inc. v. PMC Assocs., L.L.C., 711 F.3d 68, 76 (2d Cir. 2013).

        We appreciate that State Plaintiffs contend that something about Ticketmaster’s

interactions with venues raises prices down the line for consumers. But there is no discernible

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mechanism by which the conduct complained of plausibly yields that result. A principal reason

for this motion is that Defendants are not required to guess what State Plaintiffs’ theory of

causation actually is, particularly when their apparent intention is to reveal their thinking only in

expert discovery. Cf. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) (“[A] plaintiff’s

obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do[.]”

       Consider the argument that Ticketmaster makes “upfront payments to venues for primary-

ticketing exclusivity,” and that Ticketmaster “can pay significantly more than rivals for

exclusivity.” Opp. at 4. The contention seems to be that this leads to higher consumer fees because

Defendants need to “recoup” the upfront payments. Id. That might make sense in a world where

primary ticketing companies unilaterally set fees. However, as Plaintiffs admit, “venues set

aspects of ticket fees,” and in doing so, they “account for their own operating costs” and “ensure

the fees are sufficient to cover all the payments the venues must make to intermediaries.” Am.

Compl. ¶ 46. But that means that the more Ticketmaster pays for exclusivity, the less pressure

there is on the venues to raise fees to cover costs. Indeed, if Ticketmaster stopped entering

exclusive contracts or decreased their upfront payments, venues would have to recover their costs

in other ways, potentially resulting in higher consumer fees. State Plaintiffs have no answer.2

       Confusing things further, State Plaintiffs insist that the theory of injury they are asserting

is not a “pass-through” one, derivative of overcharges or other harms inflicted upstream. But if

that is not their theory, then how can State Plaintiffs claim that alleged anticompetitive conduct

involving Defendants’ interactions with venues resulted in direct harm to consumers?



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  To make matters worse, Plaintiffs now assert that a “but-for world could see more money going
to venues” from ticketing companies. Opp. at 22. But under their own logic, that would also result
in higher fees, because the ticketer would need to “recoup” those payments. See id. at 4.

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       One of the obstacles to understanding State Plaintiffs’ theory here is that it is entirely

unclear whether they are claiming that venues are victims or accomplices in the allegedly higher

fees. The alleged anticompetitive conduct implies they are victims, e.g., State Plaintiffs assert that

Defendants engage in “threats and retaliation to prevent venues from working with competing

ticketing companies, which could lower ticket prices and fees.” Opp. at 5. But elsewhere

Plaintiffs give the impression that venues are willing participants in a scheme to “fund Defendants’

exclusive contracts, restarting ad infinitum the anticompetitive cycle.” Id. at 19. These allegations

imply very different—in fact, wholly contradictory—chains of causation leading to downstream

consumer harm. The “victim” scenario is particularly mysterious, with a causal chain that seems

to wind through a but-for world in which consumers would go to more concerts at non-

Ticketmaster venues because more artists would play there. But why would bands play more

shows at non-Ticketmaster venues? Is the suggestion really that a reduction in Defendants’ take

of fees charged to consumers by venues would change tour-routing—and not just on a one-off

basis, but with a material effect on the industry? That doesn’t make sense, and there are certainly

no facts alleged in the Amended Complaint to support such a fantastical suggestion.

       That State Plaintiffs’ opposition raises more questions than it answers only underscores

their failure to establish any logical link between the alleged conduct and higher ticketing fees.

That fundamental failure dooms their attempt to demonstrate antitrust standing—or even basic

proximate causation. See Gatt, 711 F.3d at 76. Their federal damages claims must be dismissed.

                                          CONCLUSION

       The motion should be granted and these claims should be dismissed.




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Dated: October 30, 2024

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